    Case 4:22-cr-00199-SHL-HCA Document 350-39 Filed 02/23/24 Page 1 of 2




                                              TIMELINE

     Date         Law Letter             Gun              Most Recent Status       Approval Date

07/19/18
03/28/19      Demo             M-249 PARA            Approved                  04/02/19
07/26/18      Demo             MP5SD3                Approved                  08/06/18
                               M249 PARA                                       03/11/19
                               P90 USG                                         02/04/19
                               SCAR 17                                         02/04/19
                               M249SAW                                         03/28/19
10/31/18      Demo             SCAR-SC               Approved                  03/27/19
                               G36C                                            12/13/18
                               G36KE                                           12/28/18
10/31/18      Demo             UMP45                 Approved                  12/06/18
                               MP5SD2                                          02/25/19
01/15/19      Demo             MP5/40A3              Approved                  02/27/19


None needed   -                MP5SD (3)             Approved                  04/12/19
                               SCAR 16 CQC
04/17/19      Demo             P90 TACTICAL          Approved                  08/20/19
09/12/19      Demo             M4                    Approved                  09/25/19
09/21/19      Demo             STEYR AUG A3          Approved                  08/06/20
                               MP7A2 (3)                                       11/30/20
                               G36K                                            08/25/20
10/09/19      Purchase         HK416                 Approved                  08/25/20
                               MK48 MOD
10/09/19      Demo             MK46 MOD              Approved                  11/13/19
12/17/19      Demo             VECTOR SMG            Approved                  04/21/20
07/19/20      Demo             M2 HB-QCB             Approved                  10/26/20
09/13/20      Demo             M60                   Approved                  09/24/20
                               F2000
10/19/20      Demo             M1A1                  Approved                  10/28/20
                               UMP40                                           10/28/20
                               FSL                                             11/23/20
                               HK33KA3                                         11/02/20
10/19/20      Demo             RMH 1950              Approved                  10/28/20
11/19/20      Demo             AC556 (2)             Approved                  12/14/20
11/23/20      Demo             M60(2)                Approved                  06/04/21
01/18/21      Demo             M2A2                  Approved                  06/04/21
03/18/21      Demo             AUG Al                Approved                  04/19/21
04/01/21      Demo             1919-A4               Approved                  04/26/21
04/01/21      Demo             BALI OS-LITE          Approved                  04/29/21
04/19/21      Demo             PPSH-41               Approved                  05/18/21
04/27/21      Purchase         SCAR-SC               Approved                  08/30/21

                                                                                       DEFENDANT'S
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                                                                                   1   t/2 2.
    Case 4:22-cr-00199-SHL-HCA Document 350-39 Filed 02/23/24 Page 2 of 2



    Date       Law Letter                Gun            Most Recent Status       Approval Date
                            Uzi (2)
05/25/21    Purchase        Galils (2)             Withdrawn                 -
08/02/21    Demo            MP7                    Approved                  08/13/21
08/02/21    Demo            HK416                  Approved                  08/13/21
08/02/21    Demo            G36C                   Approved                  08/13/21
08/19/21    Purchase        MG0                    Approved                  11/22/21
08/19/21    Purchase        MP7 (3)                Withdrawn                 -
08/28/21    Demo            SPORTER                Approved                  11/01/21
08/28/21    Demo            LAR-15                 Approved                  10/15/21
                            GAU-2B/A
11/29/21    Demo            (MINIGUN)              Disapproved               -
01/25/22    Purchase        SCAR-SC (2)            Withdrawn                 -
03/01/22    Demo            MP5SD3                 Cancelled                 -
03/03/22    Purchase        MP7A2 (3)              Withdrawn                 -
                            MP9N
03/09/22   Purchase         APC9 SD                Pending                   -
07/01/22   Demo             G36C                   Withdrawn                 -




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